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IN THE CIRCUIT COURT OF THE SEVENTH JUDICIAL CIRCUIT
-IN AND FOR VOLUSIA COUNTY, FLORIDA

KATIE BOEHNER, DIVISION:
Plaintiff,
VS.

WALGREEN CO., d/b/a

WALGREENS #774, a Foreign

for Profit Corporation,

Defendants.
/

COMPLAINT. FOR DAMAGES AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, KATIE BOEHNER, (hereinafter referred to as “MS.
BOEHNER”), by and through undersigned counsel, and hereby sues Defendant, WALGREEN
CO., d/b/a WALGREENS #774, a Foreign for Profit Corporation (hereinafter referred to as
“WALGREENS” for damages for negligence, and in further support thereof would show unto
this Honorable Court as follows:

JURISDICTION AND VENUE

F This is an action for damages in excess of Thirty-Thousand and One Dollars
($30,001.00), exclusive of attorney’s fees, costs, and prejudgment interest.

2. All the acts, omission, and events complained of herein took place in the County
of Volusia, State of Florida, within the venue of this Court.

3. At all times material hereto, Plaintiff, MS. BOEHNER, was sui juris and a resident

of Volusia County, Florida.

Exhibit 1
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4, Atall times material hereto, Defendant, WALGREENS, was a Foreign Corporation
licensed to do business in Volusia County, Florida.

5. Pursuant to § 47.051, Florida Statutes, venue is properly vested within Volusia
County, Florida, where the cause of action accrued.

FACTUAL ALLEGATIONS

6. On or about June 26, 2020, Defendant, WALGREENS, was the owner and manager
of a store located at 205 E Granada Blvd., Ormond Beach, Volusia County, Florida which was
held out to the public as a store and pharmacy known as Walgreens #774.

7, At all times material hereto, Defendant, WALGREEN’s employees were acting
within the scope and in furtherance of their employment with Defendant.

8. At all times material hereto, Plaintiff, MS. BOEHNER, was lawfully within
Defendant, WALGREEN’s store as a customer and was an invitee in the subject premises.

9. On or about June 26, 2020, Plaintiff, MS. BOEHNER, was attempting to pick up a
prescription at Defendant, WALGREEN’S store when she began experiencing symptoms of a
panic attack,

10. Plaintiff, MS. BOEHNER’s sister Tiffany Thompson, realizing Plaintiff was in
distress, sat her down in a chair near the photo department.

11, Ms. Thompson then noticed Plaintiff, MS. BOEHNER, begin to convulse and
informed Defendant, WALGREEN’s employee, that she needed to put Plaintiff, MS. BOEHNER,
on the floor.

12. Defendant, WALGREEN’s employee forbade Plaintiff, MS. BOEHNER, from

sitting on the floor.
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13. Shortly after, Plaintiff, MS. BOEHNER’s convulsions worsened, she began to have

a seizure, and fell out of the chair onto the floor, resulting in serious injuries.
COUNT 1 - NEGLIGENCE

This is an action for damages brought by Plaintiff, MS. BOEHNER, against Defendant,
WALGREENS, pled in the alternative to any conflicting or duplicative relief sought elsewhere,
and in support thereof Plaintiff, MS, BOEHNER, hereby re-alleges and reincorporates and
Paragraphs 1-14 as if fully set forth herein, and would further allege as follows:

14. Atthe above-mentioned time and place, Defendant, WALGREENS, carelessly and
negligently failed to properly assist Plaintiff, MS, BOEHNER, who was in obvious medical
distress, by insisting that Plaintiff, MS, BOEHNER, be placed in a chair and by forbidding her
sister to place Plaintiff, MS. BOEHNER, on the floor where she would have been ina safer position
should her seizure worsen.

15. Defendant, WALGREENS, owed a duty of reasonable care to those lawfully on the
premises and in patticular to the Plaintiff, MS. BOEHNER, and breached that duty as follows:

a) failed to properly assist Plaintiff, MS. BOEHNER, when she began to
experience medical distress in their store;

b) forbade Plaintiff, MS. BOEHNER’s sister, from placing Plaintiff on the
floor where she would be safer during her medical emergency;

c) insisted that Plaintiff, MS. BOEHNER, be placed in a chair when she was
having obvious medical distress which Defendant, WALGREENS, knew or should have known
could cause Plaintiff, MS. BOEHNER, to fall out of the chair;

d) failed to exercise reasonable care for the safety of PLAINTIFF;
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e) knew or should have known that from the co-existence of these factors, that
persons similarly situated to Plaintiff, MS. BOEHNER, would be injured by being placed ina chair
during a medical emergency such as the one Plaintiff was suffering from.

16. That as a direct and proximate result of the negligence of Defendant,
WALGREENS, Plaintiff, MS. BOEHNER, has suffered physical pain and suffering in the past
and indefinitely into the future, has incurred medical and hospital bills for her care and treatment
in the past and indefinitely into the future, has lost the capacity for the enjoyment of life in the past
and indefinitely into the future, all in an amount exceeding Thirty Thousand and One Dollars
($30,001.00).

WHEREFORE Plaintiff, MS. BOEHNER, by and through undersigned counsel,
respectfully prays unto this Honorable Court for damages for negligence against the Defendant,
WALGREENS, together with any further such relief as this Honorable Court may deem just and

proper under the circumstances.

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DEMAND FOR JURY TRIAL

 

17. The Plaintiff hereby demands a jury trial for all claims so triable as of right.
DATED this fs. f day of June, 2021.

Respectfully Submitted,

OY LL

FOR THE FIRM

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